CaSe 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19242:55

(Of'H:ial Forrn 1) (12!03) West C1`roupl Rocbester, NY

FORM B1

 

United States Bankruptcy Court
Distr'ict of coNNECTIcUT

Page 1 of 35

 

 

Name of Debtor cir individual ontorLasi Firsi lvlicioile):

Rcdr'iguez, Giesi E.

Name of Joint Debtor (spoi.iso)(Lasi Firol Miudle);

 

All Other Names used by the Debtor in the last 6 years
(include manied maiden and trade names):

NONE

All Other Names used by the Joint Debtor irl the last 6 years

(include man'ied_ maiden and trade names]:

 

Last four digits of Socl Sec Noi/Comp|ete E|N or other Tax l D. No.
(it’ more than one state al 10 725

Last four digits of Soc Secl No lCompete E|N or other Tax l Di No.
rif more than one state alli:

 

Street Address of Debtor (No a slmot city slate s zip cooo):
4 70 Thi.r‘d Avenue

lst Floor'
West H'aven CT 06`.516-500.3

 

 

Street Address of .Joint Debtor two a slroot city slate &zip cooley

 

County of Residence or of the
Principal Place of Business:

County of Residence or of the
Principal Place of Business:

 

Mailing Address of Debtor (lidirroroni imm street aodross);
.SAME'

 

Mailing Address of Joint Debtor (ir different from oli-oetaooross):

 

Location of Principa! Assets of Business Debtor
(|f different from street address above): NOT APPLICABLE

 

l:] Debtor has been domiciled or has had a residence, principal place of businessl or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

I:[ There is a bankruptcy case concerning debtor’s aleiate, general partner, or partnership pending in this District.

 

Type of Debtor (Check all boxes that appty)
lndividual(s) l:l Railrood
[:l Corporation t:l Stockbroker
l:_[ Partnership l:l Commodity Broker
l:l Other l:l C|earing Bank

 

 

Nature of Debts (Check one box)
Consumer/Non-Business I:] Business

Chapter or Section of Bankruptcy Code Under Which
the Petition is Fited (Check one box)
El Chapter 7 l:l Chapter 11 I:l Chapter 13
l:f Chapter 9 l:l Chapter 12
I:I Sec 304 - Case ancillary to foreign proceeding

 

 

Chapter 11 Small Business (Check all boxes that apply)

l:l Debtor is a small business as denned in 11 U.SiCi § 101

]:] Debtor is and elects to be considered a small business under
11 U.S.C. § 1121 (e) (Optl‘onal)

 

Filing Fee (Check one box)
§ Full Filing Fee attached
13 Filing Fee to be paid in installments (App|icable to individuals only)
Must attach signed application for the court’s consideration
certifying that the debtor is unable to pay fee except in installments
Ru|e 1006(b)` See Ofticial Form No 3.

 

SlatisticallAdministrative information (Estimates only)

1:| Debtor estimates that funds wilt be available for distribution to unsecured creditors

Debtor' estimates that, after any exempt property is excluded and administrative expenses
paid, there will be no funds available for distribution to unsecured creditors

THlS SPACE lS FOR COURT USE ONLY

 

. . 1~15 1649 sci-99 1 -199
Estlmated Number of Credltors 00

200-999 1000-over

 

 

 

|Il |I] l:l |:l
Estimated Assets
$Oto $50.001 to $100,001 to $500,001 to $1 1000,001 to $10,000,001 to $50,000,001 to More than
sso,ooo $100,000 ssoo,ooo s1 million sic million soo million $100 million sine million
>I< l:l l:l El |:i l:l El [Il
Estimated Debts
solo sso,noi lo s1oo,oo1 lo $500,001 co s1 iooo,ooi to s1 o,ooo,uoi lo sso,oocl,noi lo Moro than
sso,ooo sioo,oou ssoo,ooo s1 million $10 million soo million sioo million 31 no million
>I¢ |:l l:l l:| ij E E l:l

 

 

 

 

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(Offlciai Fonn 1) (12103) Wesi Group, Rochester, NY

Vo|untary Petition Name of Debtor(s): FORM B1, Page 2
(This page must be completed and died in every case)

 

  
 

 

Location Where Fiied:

 
 
      

Case Number:

Name of Debtor:

NONE
District: Relationship: l lJudge:

 

 

 

  

Signature(s) of Debtor(s) (individuallJoint)

i declare under penalty of perjury that the information provided in this (To be Cdmpieied if debtor ie required id iiie periodic reports
petition is true and correct (elg , forms 10K and 1OQ) with the Securities and Exchange

[|f petitioner is an individual whose debts are primarily consumer debts C°rrlmiSSiOn lillrei-lerit iO SeCiiOn 13 dr i5(d) Or the SeCUrifi€S
and has chosen to file under chapter 7] | am aware that l may proceed Exchenge Aci °f 1934 end le requesting relief Under Ciiel'»iier 11)

under chapter 7, 11, 12, or 13 of title 11, United States Code, understand |:l Exhibit A is attached and made a part of this petition
the relief available under each such chapter and choose to proceed

 

   
    
 
 

 

under chapter 7 Exhibit B
l request relief in accordance with the chapter of title 11, United States (To be co pleted if debtor is an individual
Code, sp ci d in this petiti whos- ell-lite are primarily consumer debts)

§

. , i, the attorney for the peti cl j=r named in the foregoing petition, declare
X'Si namng odd (:JM that l have informed the eli !ner that [he or she] may proceed under
g / 0 _) chapter 7 11, 12, 0r13/ die 11 United States Code, and have

explained the eli

. under each such chapter . .""
x - w or§{)i

Teiephone Number (lf not represented by aitorney) Sig"aium lemowa {S) mate

io"'i%“?i`z//? W ' Exlnibiic

 
  

 

Signature of Joint Debtor

 

 

 

 

 

we Does the debtor own or have possession of any property that poses

or is alleged to pose a threat of imminent and identifiable harm to
public health and safety'?

|:| Yes and exhibit C is attached and made a part of this petition
x f §§ No

Signaiure of Attorney for W
Stephen I_ small CT14 _ Signature of Non-Attorney Petition Preparer

Prinieo Name ornrlomoyforoeolor(o) l certify that l am a bankruptcy petition preparer as defined in 11 U S C.
gte hen I_ 5 ll § 110, that l prepared this document for compensation, and that l have
m§n;“ provided the debtor with a copy of this document

 

.r

r'
Signatu rney

 

203 Campbell Avenue
Addr€SS Pn'nted Name of Banl<ruptcy Petition Preparer

 

 

 

Socia| Security Number
West Haven CT 06516

 

 

 

 

 

` ,/ Address
203-93 7-8535 i 0 "i%"O\
Telephone Number Date
Signature of Debtor (Corporatioanartnership)
f declare under penalty of perjury that the information provided in this Names and Socia| Security numbers of all other individuals who
petition is true and correct, and that l have been authorized to file this prepared or assisted in preparing this document:

petition on behalf of the debtorl

The debtor requests relief in accordance with the chapter of title 11l
United States Code, specified in this petition
|f more than one person prepared this document, attach additional

X sheets conforming to the appropriate official form for each personl

 

Signature ofAuihorized individual

X

 

 

Signature of Bankruptcy Peiition Preparer
Frinted Name of Authorized individual

 

Date

 

Title of Authoz'ized individual

A bankruptcy petition preparer's failure to comply with the provisions

mate of title 11 and the Federal Rules of Bankruptcy Procedure may result
in fines or imprisonment or both 11 U S.C § 110; 18 UiS C § 156

 

 

 

 

 

 

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Rule 201s(b) (ar91) wool croup noone-too NY

UNITED STATES BANKRUPTCY COURT
DlSTRiCT OF CONNECT|CUT

e Gies:r'. E.. Rod.t'iguez Case NO.i

in r Chapter 7

f Debtor

 

Attomey for Debtor. Stephen Ii. Small
STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Ruie 2016(b), Bankruptcy Rules, states that:

1. The undersigned is the attorney for the debtor(s) in this casel

2.. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
a) For legal services rendered or to be rendered in contemplation of and in

 

 

 

connection with this case l. .. . i. i. .. i, .. .. i. i. .. i. i. i. i. l .. .. l i, . i. .i l .. .. l i. .. .i i. .. i, $ 0.00
b) Prior to the filing of this statement debtor(s) have paid . i. i. i. .i .i ,i l .. .. i. .. .i l $ 0.00
c) The unpaid balance due and payable is .. i. .. .. .. l. .. i. l .. i. .i i. .i .. i. .. i. i. .. .. i, .i .. i. l $ 0.00
31. $ 209. 00 of the filing fee in this case has been pald.l

4r The Services rendered or to be rendered include the following:
a) Anaiysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
file a petition under title 11 of the United States Cocle.i
b) Preparation and filing of the petition, schedules statement of financial affairs and other documents required by the

court..
c) Representation of the debtor(s) at the meeting ot creditors

5.. The source of payments made by the debtor(s) to the undersigned was from eamings, wages and compensation for
services performed, and
None other

6`. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
be from earnings wages and compensation for services performed, and
None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
the value stated:
None

  
  
 

  

   
 
 
 

 

8.` The undersigned has not shared or agreed to share wit
law firm, any compensation paid or to be paid except a-. f li
E

ll
l l

Dated: Respectfuiiy s q f- ;
\

l
`\

l y other entity, other than with members of undersigned's
¢i.l \WS:

         
   

 

X \\
Attorney for Petitioner". Stephen I
Stephen I..
203 Campbell Avenue
West Haven CT 06516

 

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Fon'n 8201 (111'03) West Group. Rochester NV

UN|TED STATES BANKRU PTCY COURT
NOT|CE TO lNDlVlDUAL CONSUMER DEBTOR

The purpose of this notice is to acquaint you with the four chapters of the federal Bankn,lptcy Code under which you may file
a bankruptcy petition.. The bankruptcy law is complicated and not easily described Therefore, you should seek the advice of
an attomey to learn of your rights and responsibilities under the law should you decide to file a petition with the court1 Court
employees are prohibited from giving you legal advicel

 

 

Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)

1 . Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts..

21 Under chapter 7 a trustee takes possession of all your property You may claim certain of your property as exempt
under governing law.. The trustee then iiquidatec the property and uses the proceeds to pay your creditors according to priorities
of the Banknrptcy Codei

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts if, however you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Codei your discharge may be denied by the court,
and the purpose for which you filed the bankuptcy petition will be defeated..

41 Even if you receive a discharge, there are some debB that are not discharged under the law Therefore, you may
still be responsible for such debts as certain tasz and student loans, alimony and support payments criminal restitution, and debts
for death or personal injury caused by driving while intoxicated from alcohol or drugs

5. Under certain circumstances you may keep property that you have purchased subject to valid security interest
Your attorney can expain the options that are available to your

Chapter 13: Repayment of A|| or Part of the liteth of an individual with Regular income ($155 filing
fee plus $39 administrative fee)

1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would
like to pay them in installments over a period of time You are only eligible for chapter 13 if your debts do not exceed certain dollar
amounts set forth in the Bankuptcy Codei

21 Under chapter 13 you must file a plan with the court to repay your creditors ali or part of the money that you owe
them, using your future eamings. Usual|y, the period allowed by the court to repay your debts is three years but no more than five
years Your plan must be approved by the court before it can take effectll

3. Under chapter 131 unlike chapter 7, you may keep all your property, both exempt and non-exemptl as long as you
continue to make payments under the plant

41 After completion of payments under the planl your debts are discharged except alimony and support payl'nentt-i1
student loansl certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while
intoxicated from alcohol or drugsl and long term secured obligations

Chapter11: Reorganlzation ($800 filing fee plus $39 administrative fee)

Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtorsl its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an
attorney

Chapter 12: Famlly farmer ($200 filing fee plus $39 administrative fee)

Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future eamlngs and is in
many ways similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm

l, the debtor, afhm'l that l have read this nw` ‘*» s
los /Os oon cod/rcr ca
Date Signatu,V/of Debtor 0 ) Case Number

 

DEBTOR COF’Y COURT COPY
{circ|e one)

 

 

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FORM BBA (6!90) West Group. Rochester, NY

m re Giesi E. Rodr‘.i.guez l Debtor Case No.

 

(if known)

SCHEDULE A-REAL PROPERTY

Except as directed belowl iist ali real property in which the debtor has any iega|, equitable, or future interest, including ali property owned as a cotenant,
community property, or in which the debtor has a life estate include any property in which the debtor holds rights and powers exercisabie for the debtor‘s
own benefit |f the debtor is married, state whether the husband, wife, or both own the property by placing an "H,“ "W,” ".i," or "C" in the column labeled
"Husband, Wife, Joint, or Community.'l lf the debtor holds no interest in real property, write "None" under "Description and Location of Property”

Do not include interests in executory contracts and unexpired ieases on this scheduie\i.ist them in Scheduie G-Executory Contracts and Unexpired

Leases.\
if an entity claims to have a lien or hold a secured interest in any property state the amount of the secured claim. See Schedule D. lf no entity claims to
hold a secured interest in the property. write "None" in the column labeled "Amount of Secured Claim.'l

if the debtor is an individual or if a joint petition is tiled, state the amount of any exemption claimed in the property only in Schedu|e C-Property C|aimed as
Exempt.

 

 

 

 

 

 

 

 

 

Description and Location of Property Nature of Debtor’s curran Market Amount of
interest in Property of Debto?.::‘teres¢, Secured Ciaim
_H in Property Without
Husl;:»:f`;_w Deducting any
Joint_d Secured Claim or
Community-C Exempti°“
None None
No continuation stream attached TOTAL $ 0 " 00
(Report also on Summary of Scheduies \)

 

 

 

 

 

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FORM BSB (10!89) West Group Rochesier NY

 

 

 

 

 

 

in re Giesi E. Rod.z»iguez roebror Case No.
(if lcnown)
Except as directed below list all personal property of the debtor of whatever kind. if the debtor has no property in one or more of the categories, place an
"X" in the appropriate position in the column labeled ”None11" if additional space is needed in any category, attach a separate sheet properly identified with
the case name1 case number, and the number of the category if the debtor is married, state whether husband, wife, or both own property by placing an
"H1" ”W," ".J," or "C" in the column labeled "Husband, Wite, loint, or Community." if the debtor is an individual or ajoint petition is iiied, state the amount of
any exemptions claimed only in Scheduie O-Property C|aimed as Exempt.
Dc not list interests in executory contracts and unexpired leases on this schedule List them in Scheduie G~Executory Contracts and Unexpired Leases1
if the property is being held for the debtor by someone eise, state that person's name and address under "Description and Location of Property."
Current Market
n - - d - Va|ue
Type of Property N escnptron an Locatron of Property of Debt°r,s |nterest
o _ in Property Without
Husb`:'i'f:__:lv Deducting any
n Joian Secured Claim or
9 Community--C Exempf'°n
11, Cash on hand1 Cash $ 301100
Location : In debtor ' s possession
2.. Checiring11 savings or other financia! Checking' - Con_nex $ 20 0 .. 00
. ' aid ‘ . .
:E::ts °enm°al°s mm °' Loca tlo:n :‘ In debtor 's possess:r_on
in banks, savings and loan thrift.
buiiding
and |oan11 and homestead associations.. or
credit unions brokerage houses1 or
cooperatives..
31 Se¢=urifv deposits with r=ublic utilities Securi ty Deposit with Larrdlord $ 3 75 ~ 00
telephone companies, |andlords, and . _ , .
mem Location . In debtor s possession
411 Household goods and fumishings, Misc`, fuzni tu_f'e, TV, Ste;g'eo $ 1,1500.1 00
' r d' ‘ , ' ,. . .
:::u:p$n;“dl° v'de° and computer Location : In debtor ' s possession
511 Books, pictures and other art objects, X
antiques, stamp, ooin. record, tape,
compact disc11 and other collections or
collectihlas.1
6.. Wearing apparel.. msc " clothing $ 700 .. 00
Location : In debtor 's possession
711 Furs and jewelry1 X
B.. Firearrns and sports, photographic and X
other bobby equipment1
91 interests in insurance policies. Name X
insurance company of each policy and
itemize surrender or refund value of
each
1011 Annuities.. ltenize and name each issuer. X
1111 rnreresrs in 1RA, ERrsA, xeogrr cramer X
pension or profitsharing plans1 lterrrizre1
1211 stock and interests in incorporated and X
unincorporated businessesl itemize1

 

 

 

 

 

 

 

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FORM BSB (10/89) West Group Rochesfer, NY

 

 

 

 

 

 

|n re G:r'.esi E. Rod.r:'iguez /Debtor Case N011
(if known)
(Continuation Sheet)
Current Market
T N o ' ron d L ' P Va’“°
ype of Property esch r an ocatron of roperty of Debtor_s lnterest,
o Husband__H in Property W'rthout
n ere__W sDeductrng _any
Joint___l ecured C|_arm or
e Communlty-C Exempt'°"
1311 lnterests in partnerships orjoint X
ventures.
ltemize..
1411 Govemmenr and corporate bonds and X
other negotiable and non-negotiable
instruments
1511Aoeounrs Reooivahre. X
1611 Nimony, unintenance, support, and X

property settlements to which the debtor
is or may be entitted.. Give particulars..

171 other liquidated debts owing debtor X
including tax refunds . lee particulars.

18.. Equitahle or future interests life estatas, X
and rights or powers exercisable for tire
benefit of the debtor other than those
listed in Sciredute of Real Property.1

151, contingentand non-contingent X
interests
in estate of a decedentl death benetit
pian, life insurance policy, or trust.
20.10ther contingent and unliquidated Pgrsonal Injury Lawsuit $ 2 , 500 1. 00
claims . .
of every hamm including m ,Efunds, Location : In debtor ' s possession
counterclaim of the debtor, and rights
to
setoff claims. Give estimated value of
each..

 

21 1 Parenrs, copyrightsl and other rnrorrooruor X
property1 Give particularsl1

221 Licenses, franchises and other generai X
intangibles. Givo particulars1l

231. Arnomobires, mens trailers and other X

vehiclesl
241 Boa'ts.. motorsJ and acoessories.. X
25. Aircraft and accessories1 X
261 Uftice equipmentl fr.rmishings11 and X
supplies..
211 Machirrery, ti:r:tures. equipment and X
supplies used in business..
2811 inventory1 X
291 r\nirnrrrs11 X
301. Crops - growing or harvested . X

Give particularsl

3111 Fan'nin¢ equipment and implements1 X

 

 

 

 

 

 

 

le
Q,,
ca

Page

 

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FORM BSB (101'89) West Group Rochester, NY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ln re G.iesi E . Rod.riguez /Debtor Case NO..
(if kn<:Mm)
SCHEDULE B-PERSONAL PROPER l Y
(Conh'nuation Sheet)
Current Market
- - - Va|ue
Type of Property N Descnpt:on and Location cf Property of Deb:orls lnterestl
0 Husband__H in Property W'rthout
w-rfe_w Deducting any
n Joint___, Securec! Cl_aim or
e community_c Exemptlon
32` Farm supplies,. chemimls. and feed . X
33.. Other personal properly of any kind not X
already listed ` Itemize .
Page 3 of 3 Total + $ 5, 805. 00

(Report total afso on Summary of Schedules.)
|nclude amon nis from any continuation sheets attached=`

 

 

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FORM BSC (6/90) West Group` Rochester` NY

In re
Giesi E. Rod.z'iguez

Case No"

SCHEDULE C-PROPERTY CLA|MED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)

E] 11 U \S C. § 522(b) (1): Exemptions provided in 11 U S.C\ § 522(d). Note: Those exemptions are available only in certain states
E] 11 U.S.C\ §522(b) (2): Exemptions available under applicable nonbankruptcy federal laws, state or ioca| law where the debtors domicile has been
located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any
other place and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process
under applicable nonbankruptcy law\

Page 9 of 35

(if known}

 

 

 

 

 

 

Specify Law Va|ue of Current Market
Description of Property Providing each C|aimed Va|ue of Property
Exemption Exemption Without Deducting
Exemptions
Cash 11 USC l522 (c!) (5) $ 30.. 00 $ .30.`00
Checking - Connex 11 USC 522 (d) (.5) $ 200…00 $ 200\. 00
Secuz'ity Deposit with Landloz'd 11 USC 522 (d) (5) $ 875 .00 $ 875 ., 00
Misc.r. furniture, TV, Ste::'eo 11 USC .522(d) (.3) $ 1,.500.\ 00 $ 1,500, 00
Misc., clothing 11 USC .522(d) (.3) $ 700\. 00 $ 700.. 00
Pez'sonal Injuzy Lawsuit 11 USC 522 (d) (11) (D) $ 2, .500., 00 $ 2,500.\ 00

 

 

Page No.. l of l

 

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FORM BGD ('12/03) West Group Rochester` NY

|n re Giesi E. Rodr:i.g'uez

l Debtor Case No..

SCHEDULE D-CRED|TORS HOLD|NG SECURED CLA|MS

Page 10 of 35

(if known)

State the name, mailing address, including zip code, and fast four digits of any account number of ali entities holding claims secured by property of the
debtor as of the date of tiling of the petition.. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens.
mortgages deeds cf trust, and other security interests List creditors in alphabetical order to the extent practicable |f all secured creditors will not t”rt on

this page, use the continuation sheet provided

|f any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column marked ”Codebtor,” include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtors. lf a joint petition is tiled, state whether husband, wife, both of theme or the marital
community may be liable on each claim by placing an "H," "W "' "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

lt the claim is contingent, place an "X" in the column labeled "Contingent" if the claim is unliquidated, place an "X" in the column labeled "Un|iquidated.” lf the
claim is disputed, place an "X" in the column labeled "Disputed" (You may need to place an "X" in more than one of these three columns .)

Report the total of all claims listed on this schedule in the box labeled ”Total" on the last sheet of the completed schedulesl Report this total also on the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Summary of Schedules
Ej Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
c o
credit°r's Name and Mai|ing Address C Date Claim was lncurred, o ';,' i Amount of C|aim Unsecured
° ' ' - n ! 8 without - -
lnc]uding Zip code d Nature of Lren, and Descrrptron and ' 3 , P P°mon’ rf any
9 Market Value of Property Subject to Lren :1 3 ': Deducting Va|ue
b H-l-rusvand s § a or corlareml
‘ w_w'rre ° § d
° J-Joinz 2 a
' C-Community d
Accourlt No:
Va|ue:
Account No:
Va]ue:
Account No:
Value:
Account No:
Value:
No continuation sheets attached Subt°ta| $ o__ 00
(Toel annie page)
Total $ 0 .r 00
(Use only on last page.. Report total also on Summary of Schedules)

 

 

 

 

 

 

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FORM BGE (4.'04) West Group. Rochester N`Y

in re Giesi E. Rodziguez lDebtor Case No.`
(if known)

SCHEDULE E-CREDITORS HOLD|NG UNSECURED PR|OR|TY CLA|MS

A complete list of claims entitled to priority, listed separately by type of priority is to be set forth on the sheets provided Only holders of
unsecured claims entitled to priority should be listed iri this schedule ln the boxes provided on the attached sheets, state the name and mailing address,
including zip code, and last four digits of tl'ie account number if anyl of all entities holding priority claims against the debtor or the property of the debtor, as
of the date of the filing of the petitionl

lf any entity other than a spouse in a joint case may be jointly liable on a claim place an "X" in the column labeled "Codebtor" include the entity on
the appropriate schedule of creditors and complete Schedule H - Codebtors\ lf a joint petition is tiled, state whether husband wife, both of them or the
marital community may be liable orr each claim by placing an "H r" "W " "-J,” or ”C" in the column labeled "Husband Wife, lJoint, or Communityr"

lf the claim is contingent place an "X" in the column labeled "Contingent\" lf the claim is unliquidated place an "X" in the column labeled
"Unliquidated" |f the claim is disputed place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns)

Repcrt the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet Report the total of ai| claims listed orr this Schedule E in
the box labeled "Total" on the last sheet of the completed schedule Repeat this total also on the Summary of Schedulosl

Check this box 'ri debtor has no creditors holding unsecured priority claims to report on this Schedule E

TYPES OF PR|OR|TY CLAtMS (Check the appropriate box(es) below i'i claims iri that category are listed on the attached sheets)

El Extensions of credit in an involuntary case
C|aims arising in the ordinary course of the debtors business or financial affairs after the commencement of the case but before the earlier of the
appointrnentof atrustee orthe orderfor relief.. 11 U.S.C\ § 507(a)(2).

l:l Wages, salaries, and commissions
Wages, salaries, and commissions, inctuding vacation` severance and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred tirst, to the extent provided in 11 UrS .C. § 507(a)(3)..

I:I Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation
of business, whichever occurred first, to the extent provided in 11 U \S \C. § 507(a)(4).

l:l Certain farmers and fishermen
C|aims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U\S.C\ § 507(3)(5)\

|:l Deposits by individuals

C|aims of individuals up to $2,225* for deposits for the purchaser lease, or rental of property or services for personal, family, or household use, that
were not delivered or provided 11 U.\S\C § 507(a)(6)`

l:l Alii'riorryl Malntenance or Support
C|aims of a spousel fenner spouse. or child of the debtor, for alimony, maintenance or support to the extent provided in 11 U \S\C. § 507(a){7).

I:l Taxes and Certain Other Debts Owed to Govemn'ienta| Units
Taxes, custom duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S\.C\ § 507(a)(8)\

l:[ Commitrnents to Maintain the Capita| of an insured Depository institution
C|aims based on commitments to FD|C, RTC, Director of tl'ie Oft'rce of Thrift Supenrision, Comptroller of the Currency, or Board of Govemois of tl'ie
Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institutionl 11 U `S`.C. § 507(a)(9)..

’Amounts are subject to adjustment on April 1 2607 and every three years thereafter with respect to cases commenced on or after the dale ofadiustment.

No continuation sheets attached

 

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 12 ot 35

FORM BGF (12."03) West Group Rocl'lester NY

m re ciesi E. Redriguez /Debtor Case No.
(if known)

SCHEDULE F-CREDITORS HOLD|NG UNSECURED NONPRIOR|TY CLA|MS

State the name, mailing address, including zip code and last four digits of any account number, if any, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of frling of the petition Do not include claims listed in Schedule D and Er lf all
creditors will not tit on this page use the continuation sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the
appropriate schedule of creditors and complete Schedule H - Codebtorsr lf a joint petition is filed state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," ”W," ".l," or "C" in the column labeled "Husband, Wife. Joint, or Community"

lf the claim is contingentl place an "X" in the column labeled "Contingentr” lf the claim is unliquidated place an "X" in the column labeled "Unliquidated" lf the
claim is disputedr. place an "X" in the column labeled "Disputed " (You may need to place an "X" in more than one of these three columns r)

Report total of all claims listed on this schedule in the box labeled "Tot:a|" on the last sheet of the completed schedulesl Report this total also on the
Summaryof Schedules.

m Check this box ii debtor has no creditors holding unsecured nonpriority claims to report orr this Schedule Fr

 

Date Claim was lncurred, Amount of C|aim

and Consideratlon for C|aim..
|f Claim is Subject to Setoff, so State

Creditor’s Name and Mailing Address

lncluding Zip Ccde

 

 

ll.mn|:‘BM-'U'

l-l-Husbarrd
Ml'-Wife
J-»-.Joinf
C-Community
Account No: 6295 $ 319 t 84

Creditor # : 1 Credit Card Purchases
Capital One
PO BOX 70884
Chaz'lotte NC 28272-0884

'IQF"B'QQ.CG
»+: mcn:-¢-»:oo
n.rn-nrr:r.-r:.:r--:rl:

 

 

 

 

Acmunt No: 4536 $ 228.\ 59

Cred:i.tor # : 2 Cz'edit Ca.r:'d Puz'chases
Capital One
PO BOX `70884`
Chaz'lotte NC 28272-'0884

 

 

 

Account No: 3938 $ 53 r. 76

Creditor # : 3 Bounced Check
ChexSystems

Dept 26`.9.1

Los Angeles CA 90084-2691

 

 

Aooount No: 768.9 $ 705`. 37

Creditor # : 4 Cell Phone
Cingr;rlar' Wireless

PO BOX 9823

New Haven CT 06'5.36-0823

 

 

 

 

 

 

 

 

 

 

5 continuation sheets attached Subtotal $ 1, .308\\ .5 6
(Tclal oithis page)

Total $
(Report total also on Summary of Schedules)

 

 

 

 

Case O5-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 13 ot 35

FORM BGF (12)'03) West Group, Rochester, NY

|n re eiesi E. Rod.r-.-r.guez /Debtor Case No..
(if knowr'r)

S¢HEDULE F-CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Ccntinuation Sheet)
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Greditor's Name and Mailing Address g Date Clarm was lncurred, o 11 l Amount of Clarm
' \'l . S
including Zip code d and Consrderatlon for C|alm, ! a P
e lfClalm is Subjectto Setoff, so State. :1 u u
b i t
t H-Husband 9 d e
w_wrfe 9 a d
0 . n t
r J-riornt t §
C-Community
Acmumno: 4597 $ 799.\45
Creditor # : .5 Motor Veh_icle Tax
C:r'.ty of New Haven
Tax Collecto.r:‘
165 Chu:'ch Str‘eet
New Haven CT 06510
Account No: 45.97
Repz.esenting: Collection Company of
cit of New Haven 700 Longwate.r:‘ Dz:i.ve
Y Norweli, m 02051
Account No: 4597
Repr.esenting_. C:r:'edit Info.r:mation Bur‘eau
c. t f Ne H v n 70 Jeffezson Blvd.
l Y ° w a 9 trawick RI 02383-1055
Account No: 4189 $ 2452.. 00
Creditor # ; 6 Cz'ed.i.t Caz:'d Pur'chases
Filene '.s
70 Frankl:r'.n Street
Boston MA 02122
AccounrNo: 1349 $ 1,100.\ 00
Creditor # : 7 Cr'ed:r'.t Cazd Pur'chases
Fingerhut Cozp,
P.G.r Box 7999
Str. Cloud MN 56.302
Acoount No: 1849
Repr.e$enting_.. Mi.dland Credit Management
F. h t C PO BOX 9\39019
myer u °"P" san Diego cA 92193-9019
Sheet Now 1 of 5 continuation sheets attached toSchedule of Subt°ta| 5 2, 151" 45
Creditors Holding Unsecured Nonpriority Claims (Tmar cr¥rstr;alg;)
o
(Report total also orr Summary of Schedules)

 

 

 

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19242:55

FORM BBF {12!03) West Group. Rochester` NY

|n re Giesi E. Rod_r:r'.g'uez

r' Debtor

 

Case No.

Page 14 ot 35

(if known)

SCHEDULE F-CREDITORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

, c u o .
Creditor's Name and Mai|ing Address g Date C|arrrr was lncurred, o ,|, i Amount ofClarm
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including Zip code d and C_cnsrderatron for Clarmr. g a P
e lf C|arm is Subjectto Setoff, so Statew 111 u u
b i f
t H-r-rushand 9 d a
o lw-vrrrfe ° § d
. l'l
r J-'~Iolnt t a
C-Community
Account No: 0483 $ 328\00
Creditor # : 8 Cr'edit Ca.r.'d Pu::’chases
Fir'st National Bank Of Marin
PO BOX 80015
Los Angeles CA 90080-001.5
Acmunruo: 0675 $ 314~00
Creditor # : 9 Czedit Ca.r:'d Purchases
Household C:‘edit Sezvic:es
PO BOX 98'715
Las Vega.s NV 8919.3~8715
Account No: 6662 $ 1 ,124 1133
Creditor # : 10 Credit Ca.r:'d Pu.r'chases
JC Pe.zmey
PO BOX 981131
El Paso TX 79998
Accourrt No: 6652
Representing_. Amez'ican Receove.r.y Systems,l`nc:
Jc Peme 1699 Wall Str'eet, Su.'r'.te 300
y Mtr. onspect IL 600456-5788
AccountNo: $ 640\.28
Creditor # : 11 Cz'edit Caz'd Purchases
New Haven Cor.mty Credit Union
3011 W.b:i.tney Avenue
Hamden CT 06518
AcoountNo:
Repr.esenting: Kason Cr‘eciit Cozporation
N w Haven C t C ' d:r'.t U ion PO BOX 1189
e °un Y re n airfield cr cease-1139
SheetNo. 2 of 5 continuation sheets attached toSchedu|eof Subtota| $ 2,406., 51
Creditors Holding Unsecured Nonpriority C|aims ('rorsr currie page)
Torar$

{Report total also on Summary of Schedules)

 

 

 

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19242:55

FORM BGF ( 12103) West Groupl Rochesler. NY

m re Giesi E. Rodz'iguez

l Debtor

Case Now

Page 15 ot 35

(if known)

SCHEDULE F-CREDITORS HOLD!NG UNSECURED NONPR|OR|TY CLAlMS

(Continuation Sheet)

 

including Zip Code

Creditor‘s Name and Mailing Acldress

'\QF"U“OQ.OO

 

Date C|aim was lncurred,
and Consideration for Claim..
lf C|aim is Subject to Setoff, so State..

 

W-ere
J-».Joint

H-l-lusband

C-Community

 

-\:r mrc:r--»:rot'>
o.m»-m n.-r:.a --=c
o.m»r:'o¢»-U

Amount of Claim

 

Account No: 982.9

 

Creditor # : 12
Newport: News

101 Czcssrray Park West
Woodbu.zy NY 11797

Cz'edit Caz‘d Pur'chases

$ 768`00

 

Account No: 8 779

 

Creditor # : 13

Nor'th Shcz'e Agency, Inc:..
PO .BGX .5071

Clifton' NJ 07015-50‘71

Collec:tion Account

$ 191.27

 

Account No: 124 9

 

Creditor # : 14
Pz'esid:r'.o Bank

101 C.r:'cssway Park West
W’oodbury NY 11797

Cz'edit Card Puz'chases

$ 4,1.91\.00

 

Accounl No: 88 79

 

Creditor # : 15
Pr'ogressive Insur‘ance

PO BOX 7247-0311
Philadelphia PA 19170-0001

Auto Insurance

$ 1091.00

 

Acoount No: 88 79

 

Representing.:
Pz'ogressive I.usur‘ance

NCO Financial
4146`6`
Philadelphia .PA 19101

 

Account No: 022 7

 

Creditor # : 16
S.NET

1 Science Pa.r'k
New Haverr, CT 06511

 

 

 

 

` Phone Bill

 

 

 

$ 4161. 00

 

Sheet No..

 

3 Of 5 continuation sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims

Subtotal $
(Total ofthis page}
Total $

(Report total also on Summaryof Schedules)

5,.503.`27

 

 

 

 

 

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19242:55

FORM BSF (12)'03)WestGroup. Rochester NY

fn re Giesi E. Rodz`iguez

l Debtor

Case No.

Page 16 ot 35

(if known)

SCHEDULE F-CREDlTORS HOLDING UNSECURED NONPR|OR!TY CLA|MS

(Contlnualion Sheet)

 

including Zip Code

Creditor's Name and Mailing Adclress

'ro-»D'¢DQ.QO

 

Date C|aim was lncurred,
and Consideration for C|aimr.
lf C|aim is Subject to Setoff, so State..

 

W-W`lfe
J--Joint

H-Husband

C-Community

 

o.o--r:tra-u

»:r ¢n¢u:I-HEQO
MF*W Q.-l|:.ll -‘_= G

Amount of Claim

 

Acoount No: 54 80

 

Creditor # : 17

S.NET

PO BOX 1861

New Haven CT 06508-0901

Phone Bil.'l.

$ 125 r. 00

 

Account No: 2300

 

Cred;r'.tor # : 18
Sou.r:'ce One Financial Cozp.
163 Rear' Washington St.r:‘eet
Norwell MA 02061

Auto Loan Difficiency

$ 10,000`. 00

 

Acoount No: 3333

 

Creditor # : 19
Southezn CT Gas Co..

PO BOX 1999

Aug'usta ME 04332~19.9.9

Utility sills

$ 1,685., 05

 

Aocount No: 184 7

 

Creditor # : 20
Spiegel

101 Cz:'oss'way Park West
Woodbur:y NY 117.97

Credit Ca.r'd Pur‘chases

$ 611.r 00

 

Account No: 8341

 

Creditor # .' 21

St. Raphael Healthca:'e CU
1450 Chapel Stz'eet

New Haven CT 06511

Auto Loan Difficiency

s 10,142..41

 

Account No: 8341

 

Representing:'
Str Raphael Healthcar'e CU

 

 

 

 

Inve.stigation & Recove.r:y Assoc
134 F.r'ont Street
Beaver Dam WI .53916'

 

 

 

 

Sheet No.

 

4 Of 5 continuation sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims

Subtotal $
(Total of this page)
Total $

(Report total also on Summary of Schedules)

22, .56.3.\ 46

 

 

 

 

 

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19242:55

FORM BEF (12!03) West Group Rochester, NY

|n re Giesi E. Rodz'iguez

SCHEDULE F-CRED|TORS HOLD|NG UNSECURED NONPR|OR!TY CLA|MS

r' Debtor

Case No.

Page 17 ot 35

(if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Continuadon Sheet)
. c u o .
Creditor's Name and Maiting Address g Date Clarm was lncurred, 0 11 i Arnount of CIarm
. - n _ 5
including Zip code d and Consrderatlon for C|aim.. t a p
e lf Claim rs Subject to Setoff, so State. rll u u
b r t
t H-Husband 9 d e
o w-wrre 9 § d
. n
r J-Jornt t a
C-Community
Acoounl No: 4164 $ 762., 54
Creditor # : 22 Util.'r'. ty Bills
Uni ted I.'l.lr.zminating
PO BOX 9230
C£helsea MA 02150-92.30
Acoount No: $ 1, 600.. 00
C'redi tor # : 2.3 Back Rent
Wilson Nunez
33 My:r:'tle Avenue
West Haven CT 06516
Account No:
Account No:
Acoount No:
Account No:
Sheet No. 5 of 5 continuation sheets attached to Schedule of Subtota| $ 2, 362`, .54
Creditors Holding Unsecured Nonpriority Claims motel ofthis barrel
Tota| $ 36 , 295 r. 89

(Reporttotal also on Summary ofSchedules)

 

 

 

 

Case O5-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 18 ot 35

FORM B$G (10!89) West Groupl Rochester’ NY

|n re Giesi E. Rodriguez r'Debtor Case Nor

 

(if known)

SCHEDULE G-EXECUTORY CONTRACTS AND UNEXP|RED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal propertyl |nclude any timeshare interests
State nature of debtor’s interests in contract, ire. "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease
Provide the names and complete mailing addresses of all other parties to each lease or contract described

NOTE: A party listed on this schedule will not receive notice of the H|ing of this case unless the party is also scheduled in the appropriate schedule of
creditors

jj Check this box if the debtor has no executory contracts or unexpired |eases.

 

 

Name and Mailing Address, Description of Contract cr Lease and
including Zip Code, of Nature of Debtor’s lnterest.
other Parties to Lease State whether l_ease is for Nonresidentia| Real Property
or Contract State Contract Number of any Govemment Contract
Glor'ia Andugar Contract Type: Residen tial lease
Terms: $8.50 / month
Beginning date:

Debtor’s lnterest:

DeSCl'lp'inn!One Yeaz' Wz:r'.tten Lease of
470 Szd Avenue, let Floor'
West Haven, CT 06'.516

Buyout Option:

 

 

 

 

Page l of l

 

Case 05-36413 DOC 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 19 of 35

FORM BSH (6/90) West Group, Rochester, NY

|n re Giesi E. Rod.t'iguez lDebtor Case NO..

 

('ri known)
SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity. other than a spouse in a joint case that is also liable on any debts listed by debtor in
the schedules of creditors |nclude all guarantors and co-signers" ln community property states, a married debtor not t”rling a joint case should report the
name and address of the nondebtor spouse on this schedule lnc|ude all names used by the nondebtor spouse during the six years immediately preceding
the commencement of this oase.

Z| Check this box if the debtor has no codebtors.

 

Name and Address of Codebtor Name and Address of Creditor

 

 

 

 

 

Page l of l

 

 

Case O5-36413 Doc 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 20 of 35

FORM BS| (12."03) West Group, Rochester NY

ln re Giesi E. Rod.:iguez l Debtor Case No.
(if known)

SCHEDULE l-CURRENT lNCOME OF lNDlVlDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint
petition is t”lled, unless the spouses are separated and ajoint petition is not filed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor‘s Man`tal DEPENDENTS OF DEBTOR AND SPOUSE
Status: RELAT|ONSHlF-' AGE
Single Daughte.i:‘ ?
Son y
EMPLOYMENT: DEBTOR SPOUSE
Occupation Aide
Name of Employer St . Raphael 's Hospi tal
How Long Employed ?
Address of Employer 135 0 Chapel Street
New Haven CT 06 511
lncome: (Estimate of average monthly inocme) DEBTOR SF'OUSE
Current Monthly gross wages,, salary. and commissions (pro rate if not paid month|y) $ 590 r. 00 $ 0 l 00
Esiimaied Momhiy overtime $ 0 \. 00 $ 0 . 00
suBToTAL $ 690. 00 $ 0. 00
LESS PAYROLL DEDUCT|ONS

a. Payrou Taxes and sociar security $ 0., 00 $ 0.. 00

b. insurance $ 0 .. 00 $ 0.. 00

cr Union Does $ 0.` 00 $ 0.. 00

d other (speciry): $ 0 l 00 $ 0 .r 00
suBToTAL oF PAYROLL DEDUcTioNs $ 0. 00 $ 0. 00
TOTAL NET MoNTHi_Y TAKE HoME P.-\Y $ 690. 00 $ 0 . 00
Regular income from operation of business or profession or farm (attach detailed statement) $ 0 .. 00 $ 0 i. 00
lncome from Rea| Property $ 0.. 00 $ 0.. 00
interest and dividends $ 0 .. 00 $ 0.. 00
A|imony, maintenance or support payments payable to the debtor for the debtor‘s use or that $ 283 .r 00 $ 0 .r 00
of dependents listed above
Social Security brother government assistance
3000"¥? Section 8 A.ssistance $ 001\- 00 $ 0\- 00
Pension or retirement income $ 0 r. 00 $ 01. 00
Other monthly income
Specifyi $ 0.. 00 $ 04. 00

TOTAL MoNTHLY iNcoME $ 1, 774 - 00 $ 0- 00
TOTAL COMB!NED MONTHLY iNCOME $ 1, 774. 00
(Report also on Summary of Schedules) ___'_“"_

 

 

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this
document

 

 

Page Nor l of l

 

 

FORM ssi (6;90)\.~@53§§}1,;0§,@§,@§1,$ DOC l Filed 10/13/05 Entel’ed 10/13/05 19242:55

|n re Giesi E. Rodriguez

SCHEDULE J-CURRENT EXPEND|TURES OF lND|V|DUAL DEBTOR

/ Debtor

Case No.

Page 21 of 35

(if known)

Complete this schedule by estimating the average expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly, quarterly

semi-annua|ly, or annually to show monthly rate.

jj Check this box if a joint petition is filed and debtor's spouse maintains a separate householdl Complete a separate schedule of expenditures labeled

"Spouse."

 

Rent or horne mortgage payment (inc|ude lot rented for mobile home)
Are real estate taxes included? Yes [| No >Xt
ls property insurance included? Yes j:l No g
Utili`ties: Electricity and heating fuel

Water and sewer

Telephone

O;hel- Cell Phone

Other

Ot.her

Home maintenance (Repairs and upkeep)
Food
Clothing
Laundry and dry cleaning
Medical and dental expenses
Transportation (not including car payments)
Recreation, clubs and entertainment newspapers magazines etc
Charitable contributions
insurance (not deducted from wages or included in home mortgage payments)
Homeowner's or renter's
Life
Hea|th
Auto
Other
Other
Other

Taxes (not deducted from wages or included in home mortgage)
Specify:
installment payments'. (in chapter 12 and 13 cases do not list payments to be included in the plan)
Auto
Other:
Other'.
Other:

A|imony, maintenancel and support paid to others

Payments for support of additional dependents not living at your home

Regular expenses from operation of business. profession or farm (attach detailed statement)
Otl'ier:

Other:

Other:

TOTAL MONTHLY EXPENSES

(Report also on Summary of Schedules)

‘EHW£¢}HMU%(£$ EHHMWMW

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99£6'69'&&6969 '&B{N££'€H

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FORM B@(S,go)W§@s§;, Q§§§Q,{l§£ Doc 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 22 of 35

UN|TED STATES BANKRUPTCY COURT
DlSTR|CT OF CONNECT|CUT

|n re Giesi E.. Rodr'iguez Case NO.
Chapter 7

i' Debtor

 

SUMMARY OF SCHEDULES

indicate as to each schedule whether that schedule is attached and state the number of pages on each Report the totals from Schedu|es A, B, D, E, F, |,
and -J in the boxes provided Add the amounts from Schedu|es A and B to determine the total amount of the debtors assets Add the amounts from
Schedules D, E and F to determine the total amount of the debtor's liabilitiesl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AMOUNTS SCHEDULED
Attached No of
NAME OF SCHEDULE (YesiNo) Sheets ASSETS LlABlLiT|ES
A-Real Property
Yes 1
B-Personal Property
Yes 3
C-Property Claimed as
Exempt Yes 1
D-Creditors Holding Secured
Claims Yes 1
E-Creditors Holding
Unsecured Priority Claims Yes l
F-Creditors Holding
Unsecured Nonpriority Claims Yes 6
G-Executory Contracts and
Unexpired Leases Yes 1
H-Codebtors
Yes 1
l-Current lncome of individual n
Debtor($) Yes 1 l, 774 i. 00
J-Current Expenditures of
individual oebior(s) Yes 1 1’ 794 " 00
Total Number of Sheets in Al| Schedules »-

 

 

Total Assets > .5 , 805 .. 00

Total Liabilities )- 36 , 295 .. 89

 

 

Case O5-36413 Doc 1 Filed 10/13/05 Entered 10/13/05 19:42:55 Page 23 of 35

i=oRM se (eieo) west Group, Ruchesieri N\r

in re Giesi E. Rodr'iguez i' Debtor Case No.i
(if known)

DECLARAT|ON CONCERN|NG DEBTOR'S SCHEDULES

DECLARAT!ON UNDER PENALTY OF PERJURY BY AN lNDlVIDUAL DEBTOR

| declare under penalty oi perjury that l have read the foregoing summary and schedules, consisting of 15 sheets and that they are true and
correct to the best of my knowledgel information and belief

Date: 10 `( 2 081 Summer /?(£(./l (/97 /q-Q’

Gie"'i/E.. Rodr:i.guez

 

 

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Form 7 (12!03) West Group, Rochester, NY

UN|TED STATES BANKRUPTCY COURT
DlSTR|CT OF CONNECT|CUT

in re Giesi Ei. Rodziguez Case Noi
Chapter 7

l Debtor

STATEMENT OF FlNANClAL AFFA|RS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined if the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed An individual debtor engaged in business as a sole proprietor, partner,
family farmer, or setf-emp|oyed professionai. should provide the information requested on this statement concerning all such activities as weil as the
individual's personal affairs

Questions 1-18 are to be completed by ali debtors Debtors that are or have been in business, as defined beiow, also must complete Questions
19-25 if the answer to any question is "None," or the question is not applicable mark the box labeled ”None." |f additional space is needed for the answer
to any question, use and attach a separate sheet property identified with the case name case number (if known), and the number of the questions

 

DEF|N|T|ONS

"in business.” A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnershipl An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case any of the
following; an officer, director, managing executive or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed

"insider.." The term "insider" includes but is'not limited to: relatives of the debtorl general partners of the debtor and their relatives; corporations of
which the debtor is an ofticer, director, or person in contro|; ofticers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporation debtor and their reiatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U iSiC. §101`

11. income from employment or operation of business.

State the gross amount of income the debtor has received from employment trade, or profession, or from operation of the debtor’s business from the beginning
ofthis calendaryearto the date this case was commenced State also the gross amounts received during the two years immediately preceding this calendaryear. (A
debtor that maintains, or has maintained financial records on the basis of a fiscal rather than a calendar year may report fiscal year inoome. identify the beginning and
ending dates ot the debtoi’s fiscal yeari) lfajoint petition is riled, state income for each spouse separatelyl (Man'ied debtors filing under chapter 12 or chapter 13 must
state income of both spouses whether or not a joint petition is filed unless the spouses are separated and ajoint petition is not filed .)

AMOUNT SOURCE jlf more than Onej

Yeaz' to date:200.5~$6`,200.. 00 Employment
Last Year':2004-$6`,15001. 00
Year before ..'200.3-$19, 000 i. 00

 

2.. income other than from employment or operation of business.,
State the amount of income received by the debtor other than from employment trade, profession, or operation of the debtors business during the two years immediately
preceding the commencement of this case Give particulars if a joint petition is iiied, state income for each spouse separately (Man'ied debtors filing under chapter 12 or
chapter 13 must state income for each spouse whether or not a joint petition is filed unless the spouses are separated and a]oint petition is not filed i)

AMOUNT SOURCE
Year' to date:'200\5-$4, 6004. 00 Section 8

Last Year:2004-$6', 000.. 00
Year before : 2003-$4, 300 .. 00

 

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31. Payments to creditorsl
a list all paymenls on !oans, installment purchases of goods or sen.'ices, and other debts, aggregating more than $600 to any creditorj made within 90 days immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
petition is filed unless the spouses are separated and ajoint petition is not tiled\)

[Xl NONE

 

br List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed unless the spouses are separated and
ajoint petition is not filed)

lXI NONE

 

4.. Suits and administrative proceedings, executions, garnishments and attachmentsl
a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the Hling of this bankruptcy case.. (Married
debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is riled. unless the spouses are
separated and ajoint petition is not tiled.)

 

 

CAPTlON OF SU|T COURT OR AGENCY

AND CASE NUMBER NATURE OF PROCEED|NG AND LOCAT|ON STATUS OR DlSPOSlTlON
W:r'.lson Nunes v.. Collections Connecticut Judgment for

Gies Rodr‘ig'uez .S'uperior' Couz‘t Plaintiff
SCNH-12184 Small Claims

 

bn Describe all property that has been attached garnished or seized under any legal or equitable process within one year immediately preceding the commencement of this
case.(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed
unless the spouses are separated and ajoint petition is not filed l)

E[ NONE

 

5. Repossessions, foreclosures and returns.,
List all property that has been repossessed by a creditor, sold at a foreclosure salel transferred through a deed in lieu of foreclosure or retumed to the seller within one
year immediately preceding the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include information conceming property of either or
both spouses whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not filed l)

 

DATE OF

REPOSSESSION
NAME AND ADDRESS FORECLOSURE SALE,
OF CRED|TOR OR SELLER TRANSFER OR RETURN DESCRiPT|ON AND VAt_UE OF PROPERTY
CAR ????? Description:

Value .“

 

6.. Assignments and receiverships,.
a Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case (Married debtors filing
under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint
petition is not filed `)

NONE

 

b. List all property which has been in the hands of a custodian receiver, or court-appointed official within one year immediately preceding the commencement of this
case.(fvfan‘ied debtors filing under chapter 12 or chapter 13 must include information conceming property of either or both spouses whether or not a joint petition is filed
unless the spouses are separated and ajoint petition is not filed \)

NONE

 

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7.. sinsr.

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family members
aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient..(|'v‘larried debtors filing under chapter
12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is tiledr unless the spouses are separated and a joint petition is
not filedr)

NONE

 

8. Lossesr.
List all losses from tire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of this case.
(Married debtors iiling under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is tiled` unless the spouses are separated
and a joint petition is not ii]ed .)

E| NONE

 

9.. Payments related to debt counseling or bankruptcy.,
List all payments made or property transferred by or on behalf of the debtor to any persons, including aitomeys, for consultation conceming debt consolidation relief
under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this cases

 

 

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE NAME OF PAYOR lF OTHER THAN DEBTOR DESCR]PT|ON AND VALUE OF PROPERTY
Payee: Stephen I.. Small Date of Payment.: $0‘. 00
Addr'ess: Paycr:‘ Giesi E., Rodr:r'.guez

203 Caug:bell Avenue
West Haven, CT 06516

 

101. Other transfers..

|Jst alt other property, other than property transferred in the ordinary course of the business or tinancia| affairs of the debtor, transferred either absolutely or as security
within one year immediately preceding the commencement of this case(Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both
spouses whether or not ajoint petition is filed unless the spouses are separated and ajoint petition is not filedr)

NONE

 

11.. C|osed financial accounts.
List all financial accounts and instmments held in the name of the debtor or for the benetit of the debtor which were closed, sold, or otherwise transferred within one year
immediately preceding the commencement of this case.. |nclude checking savings, or other iinancial accounts, certificates of deposit, or other instruments; shares and
share accounts held in banker credit unions, pension funds, cooperatives associations, brokerage houses and other tinanciai institutions (Married debtors filing under
chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is liled: unless
spouses are separated and ajoint petition is not liled.)

El NONE

 

12.. Safe deposit hoxes.
List each safe deposit or other box or depository in which the debtor has or had securities cash, or other valuables within one year immediately preceding the
commencement of this case (Manied debtors tt|ing under chapter 12 or chapter 13 must include boxes or depositon'es of either or both spouses whether or not a joint
petition is nled, unless the spouses are separated end ajoint petition is not liled.)

[Xl NoNE

 

1 31. Setoffs..
List alt setoffs made by any creditor including s bank, against a debt or deposit of the debtor within 90 days preceding the commencement cf this case. (Married debtors
ii|ing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is tiledr unless the spouses are separated and
ajoint petition is not filed .)

21 NONE

 

?41. Property held for another person..
List all property owned by another person that the debtor holds or controlsl

E] NONE

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151. Prior address of debtor.r _
if the debtor has moved within the two years immediately preceding the commencement cf this case, list all premises which the debtor occupied during that period and
vacated prior to the commencement of this case lf ajoint petition is filed report also any separate address of either spousel

NONE

 

1 61. Spouses and Fonner Spouses
lf the debtor resides or resided in a community property state:. commonwealth or territory (inciuding Ataska, Arizona, Catifomia. ldaho, Louisianar Nevada, New Me)dco,
Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediateiy preceding the commencement of the case identify the name of the debtor’s spouse
and of anyfon'ner spouse who resides or resided with the debtor in the community property state.

NONE

 

17.. Environmental information
For the purpose of this questionl the following delinitions apply:

“`Envircnmental Law’ means any federal, state, or local statute or regulation regulating pollution, contamination, release of hazardous or toxic substances wastes or material
into the airl land soil surface water groundwater, or other medium. including but not limited to statr.rtes or regulations regulating the cleanup of these substances wastes,
or material.

"Site" means any tocation, facility, or property as denned under any Environmental Lawr whether or not presently or formerly owned or operated bythe debtor
including, but not limited to disposal sites.

”l'lazardous Materiai‘l means anylhing defined as hazardous waste hazardous substance toxic substance hazardous material pollutant or contaminant or similar term
under and Environmental Law:

ar List the name and address of every site for which the debtor has received notice in writing by a govemmental unit that it may be liable or potentially liable under or in
violation of an Environmental Law indicate the govemmentai unit the date of the notice and, if knownl the Environmental Law:

§ NONE

 

br List the name and address of every site for which the debtor provided notice to a govemmental unit of a release of Hazardous Materiat indicate the govemmental unit
to which the notice was sent and the date of the notice

§ NONE

 

c.r List all judicial or administrative proceedings, including settlements or ordersl under any Environmental Law. with respect to which the debtor is or was a partyr indicate
the name and address of the governmental unit that is or was a party to the prooeeding, and the docket number

NONE

 

 

18.. Nature, location and name of business
a. lf the debtor is an individua|r list the names, addresses, taxpayer identincation numbers nature of the businesses and beginning and ending dates of all businesses in
which the debtor was an ofticer, director, partner, or managing executive of a corporation partnership, sole proprietorshipl or was a self-employed professional within the
six years immediately preceding the commencement of this case or in which the debtor owned 5 percent or more of the voting or equity securities within the six years
immediately preceding the commencement of this case

lf the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all businesses
in which the debtor was a partner or owned 5 percent cr more of the voting or equity securities within the six years immediately preceding the commencment of this
USB`

lftl're debtor is a corporation, list the names, addresses, taxpayer identification numbersl nature of the businesses, and beginning and ending dates of all businesses

in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencrnent of this
casey

13 NONE

 

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b. identify any business listed in response to subdivision a. above that is "single asset real estate" as defined in 11 U.S.Cr § 101 l

NONE

 

 

 

DECLARAT|ON UNDER PENALTY OF PERJUR\’ BY iNDiVlDUAL DEBTOR

l declare under penalty of Peq'ury that l have read the answers contained in the foregoing statement of tinancial affairs and any attachments thereto and

that they are true and correct to the best of my knowiedge, inforrnation, and belief psr _
Date Slgnature <S\Q€ mri mw W 5\€` fm i\M 3
__"_ 1 0 id

Gie.si E.. Rodziguez

 

 

Date Signature

Penalty for making a false statement Fine of up to $500rOOO or imprisonment for up to 5 years or both, 18 U SrC. § 152 and § 3571.\

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Form 7 (12!03) West Group, Rochecter, N‘r'
DECLARAT|ON UNDER PENALTY OF PERJURY BY tNDlV|DUAL DEBTOR

t declare under penalty of Per]`ury that t have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and

that they are true and correct to the best of my knowiedge infonnation. d belief
\
\

Date ib h is O§ Signature ' ' ( F,O)\ Q:%/L\: W/£-/@
ez/ (_// j

Giesi E.r Rodrigu

 

Date Signature

Penaltyfor making a false statement Fine of up to $500.000 or imprisonment for up to 5 years or both, 18 U 5 .Cr § 152 and § 3571,

Statement of Affairs - Page 5

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UN|TED STATES BANKRUPTCY COURT
DlSTR|CT OF CONNECT|CUT

ln re Giesi Er. Rod.r'.i.guez Case NO`.
Chapter 7

lDebtor
Attomeyfor Debtor. Ste_phen I.. Small

ER|F|QAT|(_)_N OF CR_ED|TC_}R MATR|X

The above named Debtor(s) hereby verify that the attached master mailing list of creditors is true

and correct to the best of our knowledge

  
   

Date: IG k` `b "()3/

osth

 

 

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American Receovery Systems,lnc
1699 Wall Street, Suite 300
Mi:rl Prospect, IL 60056-5788

Capital One
PO BOX 70884
Charlotte, NC 28272-0884

CheXSystems
Dept 2691
Los Angeles, CA 90084-2691

Cingular Wireless
PO BOX 9823
New Haven, CT 06536-0823

City of New Haven
Tax Collectoz

165 Church Street
New Haven, CT 06510

Collection Company of
700 Longwater Drive
Norwell, MA 02061

Credit Informaticn Bureau
70 Jefferson Blvdr
Warwick, RI 02888-1056

Filene'S
70 Exanklin Street
Boston, MA 02122

Fingelhut Corpr
P»O. Box 7999
Stl Cloud, MN 56302

Eirst National Bank Of Marin
PO BOX 80015
Los Angeles, CA 90980-0015

Gloria Anduqar
Household Credit Services

PO BOX 98715
Las Vegas, NV 89193-8715

 

Investigation & Recovery Assoc
134 Front Street
Beaver Dam, WI 53916

JC Penney
PO BOX 981131
El Paso, TX i9998

Kason Credit Corpozation
PO BOX 1189
Enfield , CT 06083-1189

 

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Midland CIedit Management
PO BOX 939019
San Diego, CA 92193-9019

NCO Einancial
41466
Philadelphia, PA 19101

New Haven County Credit Union
3011 Whitney Avenue
Hamden, CT 06518

Newport NewS
101 Crossway Park West
Woodbury, NY 1179?

North Shore Agency, Inc"
PO BOX 5071
Clifton, NJ 07015-5071

Presidio Bank
101 Crossway Park West
Woodbury , NY 11797

ongressive Insurance
PO BOX 7247-0311
Philadelphia, PA 19170-0001

SNET
PO BOX 1861
New Haven, CT 06508-0901

SNET
1 Science PaIk
New Haven, CT 06511

Source One Financial Co):pll
183 Rear Washinqton Street
Norwell, MA 02061

Southern CT Gas Cow
PO BOX 1999
Augusta , ME 04332-1999

Spiegel
101 Crossway Park West
Woodbury, NY 11797

St" Raphael Healthcare CU
1450 Chapel Street
New Haven, CT 06511

United Illuminating
PO BOX 9230
Chelsea, MA 02150-9230

 

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Wilson Nunez
33 Myr'tle Avenue
West Haven, CT 06516

 

 

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FORM BB (12)'03) West Group Rochester, NY

in re Giesi Er. Rodriguez

 

UN|TED STATES BANKRUPTC¥ COURT
DlSTR|CT OF CONNECT|CUT

Case No.
Chapter 7

CHAPTER 7 lNDlVlDUAL DEBTOR'S STATEMENT OF lNTENTlON

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1. l have tiled a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

 

ar Property to Be Surrendered.

2r. l intend to do the following with respect to the property of the estate which secures those consumer debts:

 

Description of Property

Creditor's Name

 

None

 

b. Property to Be Retained..

[Check any applicable statement r]

 

Description of Property

Creditor's Name

Property is
claimed as
exempt

Property will be
redeemed
pursuant to

11 U. S.C. § 722

Debtwil] be
restiizmed
pursuant to

11 U.SrCr § 524{c)

 

None

 

 

 

 

 

Date: iii ' i buoy

Date:

 

Signature of Debtor(s)

/ 0 \)

Joint Debtor:

 

 

 

Page

l of l

 

 

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(4!98) West Groupr Rochester, NY

STATEMENT OF lNFORMATiON REQUlRED BY 11 U.S.C. § 341

lNTRODUCTlON

Pursuant to the Bankru'ptcy Refon'n Act of 1994, the Office of the United States Tmstee United States Department of Justice, has
prepared this information sheet to help you understand some of the possible consequences of filing a bankruptcy petition under
chapter 7 of the Bankruptcy Code.r This information is intended to make you aware of

(1) the potential consequences of seeking a discharge in bankruptcy including the effects on credit history;

(2) the effect of receiving a discharge of debts;

(3) the effect of reaffirming a debt and

(4) your ability to file a petition under a different chapter of the Bankruptcy Code
There are many other provisions of the Bankruptcy Code that may affect your situationl This information sheet contains only
generai principles of law and is not a substitute for legal advicel |f you have questions or need further information as to how the
bankn.lptcy laws applyto your specific case, you should consult with your lawyer

WHAT lS A D|SCHARGE?

The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules
A discharge is a court order that says you do not have to repay your debts but there are a number of exceptions Debts which
may not be discharged in your chapter 7 case include for example most taxes, child support, alimony and student loans;
court-ordered fines and restitution; debts obtained through fraud or deception; and personal injury debts caused by driving while
intoxicated or taking drugs Your discharge may be denied entirely if you, for examp|e, destroy or conceal property, destroy.
conceal or falsify records; or make a false oath. Creditors cannot ask you to pay any debts which have been dischargedl You can
only receive a chapter 7 discharge once every six (6) years

WHAT ARE THE FOTENT|AL EFFECTS OF A DlSCHARGE?

The fact that you filed bankruptcy can appear on your credit report for as long as 10 years Thus. filing a bankruptcy petition may
affect your ability to obtain credit in the future Also, you may not be excused from repaying any debts that were not listed on your
bankruptcy schedules orthat you incurred afteryou filed bankruptcyl

WHAT ARE THE EFFECTS OF REAFFlRMlNG A DEBT?

After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your ownr Reaffirming a
debt means that you sign and file with the court a legally enforceable documentl which states that you promise to repay all or a
portion of the debt that may otherwise have been discharged in your bankruptcy case Reaffirmation agreements must generally be
filed with the court within 60 days after the first meeting of creditors

Reaffirmation agreements are strictiy voluntary - they are not required by the Bankmptcy Code or other state or federal law. You
can voluntarily repay any debt instead of signing a reaffirmation agreement1 but there may be valid reasons for wanting to reaffirm
a particular debt

Reaffirrnation agreements must not impose an undue burden on you or your dependents and must be in your best interest lf you
decide to sign a reaffirmation agreement you may cancel it at any time before the court issues your discharge order or within sixty
(60) days after the reaffirmation agreement was filed with the court, whichever is iater. lf you reaffirm a debt and fait to make the
payments required in the reaffirmation agreement the creditor can take action against you to recover any property that was given
as security for the loan and you may remain personally liabie for any remaining debt

OTHER BANKRUPTCY OPTIONS
You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs Even if you have already filed for
refief under chapter 71 you may be eligible to convert your case to a different chapter..

Chapter 7 is the liquidation chapter of the Bankmptcy Code.. Under chapter 7, a trustee is appointed to collect and sell, if
economically feasiblel all property you own that is not exempt from these actions

Chapter 11 is the reorganization chapter most commonly used by businesses but it is also available to individualsl Creditors vote
on whether to accept or reject a plan, which also must be approved by the court. While the debtor normally remains in control of
the assets, the court can order the appointment of a trustee to take possession and control of the businessl

Chapter 12 offers bankruptcy relief to those who qualify as family farmers Family fan'ners must propose a plan to repay their
creditors over a three-to-five year period and it must be approved by the court. Plan payments are made through a chapter 12
trustee, who also monitors the debtors' farming operations during the pendency of the plant

Fina|ly, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income.r Each chapter
13 debtor writes a plan which must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts
set forth in their plan. Debtors receive a discharge after they complete their chapter 13 repayment plan. Chapter 13 is only avaiiable
to individuals with regular income whose debts do not exceed $1.07? 000 ($269,250 in unsecured debts and $807,750 in secured
debts).

AGA|N, PLEASE SPEAK TO YOUR LAWYER |F YOU NEED FURTHER lNFORMAT|ON OR EXPLANAT|ON, |NCLUDlNG HOW THE
BANKRUPTCY LAWS RELATE TO YOUR SPEC|F]C CASE

 

